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                                         U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      86 Chambers Street
                                                      New York, New York 10007


                                                      March 29, 2018

BY ECF
Hon. Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

Re:    Natural Resources Defense Council, Inc. v. U.S. Dep’t of Commerce,
       No. 18-cv-583 (AJN)

Dear Judge Nathan:

        I write respectfully on behalf of both parties to provide the Court with information about
recent developments in this case, which concerns Plaintiff’s July 26, 2017 FOIA request to the
U.S. Department of Commerce (“DOC”) for documents related to the Secretary of Commerce’s
2017 “finding that the summer flounder management plan measures New Jersey had failed to
implement were unnecessary for conserving summer flounder.” (Complaint ¶ 4.) While the
Court has set the initial conference in this case for June 15, 2018, the parties believe that it may
be helpful to keep the Court apprised of developments in advance of the conference in the
interest of moving the case forward.

        After receiving Plaintiff’s FOIA request, DOC determined that responsive documents
may be found in the records of two DOC components—National Oceanic and Atmospheric
Administration (“NOAA”) and the Office of the Secretary (“OS”). In the fall of 2017, before
Plaintiff filed this action, DOC performed a search of NOAA records responsive to Plaintiff’s
request and released all non-exempt portions of records returned by that search. DOC recently
informed Plaintiff, through the undersigned, that DOC has completed its search of OS records
and is presently processing those documents. DOC expects to release all non-exempt portions of
responsive OS records by April 20, 2018. After Plaintiff has an opportunity to review those
records, the parties will meet and confer to determine whether there are any outstanding disputes
in the case and will provide a further update to the Court.

       The parties thank the Court for its consideration of this letter.
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                                           Respectfully,

                                           GEOFFREY S. BERMAN
                                           United States Attorney for the
                                           Southern District of New York

                                      By: /s/ Jennifer Jude
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cc (by ECF): Daniel Carpenter-Gold,
             counsel for Plaintiff
